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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 13-CV-1300-MSK-MJW

   JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

          Plaintiffs,

   vs.

   JOHN W. HICKENLOOPER, Governor of the State of Colorado,

          Defendant.

         RESPONSE OF MORGAN COUNTY COUNTY SHERIFF JIM
             CRONE TO DEFENDANT’S INTERROGATORIES

          Sheriff Crone, by and through his undersigned counsel, and pursuant to Fed.
   R. Civ. P. 33(b), hereby responds to Defendant’s Interrogatories as follows:

                              GENERAL OBJECTIONS
         Where no objection is interposed, the responses below reflect all responsive
 information and documents identified by Sheriff Crone before the date of the
 responses, pursuant to a reasonable and diligent search and investigation conducted
 in connection with this discovery. To the extent the discovery purports to require
 more, Sheriff objects on the grounds that (a) the discovery seeks to compel him to
 conduct a search beyond the scope of permissible discovery contemplated by the
 Federal Rules of Civil Procedure, and (b) compliance with the discovery would be
 oppressive, and would impose an undue burden or expense.

         Sheriff Crone’s discovery responses are also made subject to the ongoing
   discovery and trial preparation in this case. These discovery responses are made
   based on the best information, including facts available as of the date of such
   responses. Sheriff Crone reserves the right to amend, supplement, or change these
   discovery responses as permitted or required under the Federal Rules of Civil
   Procedure based on additional information obtained through the discovery and trial
   preparation process.

          Sheriff Crone makes each individual response subject to and without waiving
   the conditions and objections that are stated in the sections of these responses
   entitled “General Objections” and “Objections to Instructions and Definitions” and
   that are specifically referred to in that particular individual response.
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          Sheriff Crone makes each individual response without adopting in any way
   (unless otherwise stated) the terms and phrases that Defendant purports to define
   in his discovery. When Sheriff Crone uses words or phrases that Defendant has
   purported to define, those words and phrases should be given either (a) the meaning
   set out by Sheriff Crone in his responses, or in its objections to the specific
   definitions, or (b) the ordinary meaning of such words or phrases.

               OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          Defendant has purported to define several terms used in his discovery. In his
   responses, Sheriff Crone gives ordinary words and phrases their ordinary meaning.
   By making this written response, Sheriff Crone does not (a) adopt any purported
   definition, (b) waive or limit its objections to Defendant’s purported definitions, or
   (c) concede the applicability of any such definition to any term or phrase that might
   be contained in written responses. Wherever these words are used in Defendant’s
   interrogatories, these objections and these clarifications are incorporated, unless
   otherwise specified in the request.

          Defendant purported to define “you” and “your” to include “counsel for
   Plaintiffs.” Sheriff Crone objects to this definition to the extent that it purports to
   require the disclosure of information, communications, or documents protected from
   disclosure by the attorney-client privilege, work product immunity, or any other
   privilege or immunity.

   RESPONSES

   1. With respect to each and every home invasion or “robbery in the home” to which
   your department has responded since January 1, 2004, please:

      a. describe the circumstances surrounding the home invasion/robbery in the
         home, including: the date and location (by city and county), the number of
         perpetrators involved, whether or not the perpetrator(s) carried firearms, and
         whether or not the perpetrator(s), victim(s), or others fired any shots;

   Response:

   March 1, 2009, Hwy 34, Morgan County – Two unknown male suspects forced their
   way into a private residence and assaulted the victim. It is possible that one of the
   suspects struck the victim with an unknown make and model handgun. No shots
   were fired and no other weapons were used or displayed.

   March 7, 2009, Rd 23, Morgan County – An ex-husband broke into a home with the
   intent of killing his ex-wife. After being scared off by the home alarm system, he
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   fled, firing two shots from a 9mm handgun with an 8 round magazine. No one was
   hit. The suspect was seen in his garage at a later time by his neighbor. The suspect
   then took his girlfriend hostage inside his home. The suspect subsequently
   surrendered and no shots were fired.

   March 10, 2009, Hwy 34, Morgan County – Two unknown male suspects entered
   the home of the elderly homeowner. Upon entering, the suspects assaulted the
   victim by punching and kicking him. The suspects then stole the victim's wallet. No
   firearms were displayed or discharged.

   April 28, 2009, Rd 19, Morgan County – Two male suspects broke into a home and
   assaulted the homeowner. They then ran to another residence, broke in and
   assaulted the residents. Before fleeing, the suspects stole bottled water and soda.
   One suspect was armed with a broom handle, but no firearms were displayed or
   discharged.

   November 15, 2009, Rd 17.6, Morgan County – One male and one female suspect
   knocked on an elderly man's door. When the victim answered, the suspects
   assaulted him with a handgun and stole his wallet and money. No shots were fired
   and no other firearms were used or displayed.

   June 17, 2011, Hwy34, Morgan County – Two male and one female suspect
   unlawfully entered a private residence armed with baseball bats. Upon entering,
   the suspects threatened the residents and stole a number of their belongings. They
   then fled the scene. No firearms were displayed or discharged.


         b. if a firearm was fired or otherwise used or displayed by any person,
         identify who used, displayed, or discharged the firearm, the manner in which
         they did so, whether the firearm used a magazine, the capacity of any
         magazines from which bullets were fired, the number of rounds fired by each
         individual, and whether any person was shot;

   Response: Sheriff Crone objects to this interrogatory on the ground that the
   phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
   without waiving this objection:

   March 1, 2009 – The suspect displayed and potentially struck the victim with an
   unknown make and model handgun. No shots were fired.

   March 7, 2009 – The suspect fired two shots from an unknown make and model
   9mm handgun with an 8 round magazine. No one was shot.


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   November 15, 2009 – The suspects displayed an unknown make and model handgun
   but no shots were fired.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: None.


   2. With respect to each and every occasion when you, your predecessor(s) in office,
   or a sheriff’s deputy has discharged a firearm in the course of duty since January 1,
   2004 (not including firearm practice or training), please:

   a. describe the circumstances surrounding the firearm discharge, including the
   date, location (by city and county), the reason for the firearm discharge, and
   whether you, your predecessor(s), or deputy were fired upon;

   Response: Sheriff Crone objects to this interrogatory on the ground that it is
   overbroad and not reasonably calculated to lead to the discovery of admissible
   evidence. Subject to and without waiving this objection:

   July 3, 2005, City of Lochbuie, Weld County – Two deputies and two Wiggins police
   officers were involved in a high speed chase with two suspects driving the stolen
   vehicle of a missing elderly woman. Officers believed that the elderly woman had
   been murdered in Orange County, California. When one of the deputies attempted a
   PIT maneuver on the suspect's car, the suspect fired at the police. The police were
   forced to fire back at the suspects and hit both of them.

   June 17, 2011, Hwy 34, Morgan County – Two deputies were responding to a
   domestic violence call when they were approached by the suspect with a knife. After
   requesting that the suspect put down the knife, the suspect refused and told the
   deputies to shoot him. The suspect then entered the home when the deputies
   attempted to deploy a taser twice without success. The suspect proceeded to
   advance upon the officers with the knife when the officers fired at him and wounded
   him.


   b. if a firearm was fired by any person involved in the event, identify who fired the
   firearm, whether the firearm used a magazine, the capacity of any magazines from
   which bullets were fired, the number of rounds fired by each individual, and
   whether any person was shot;


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   Response: Sheriff Crone objects to this interrogatory on the ground that the word
   “event” is vague. Subject to and without waiving this objection:

   July 3, 2005 – The suspect fired 7 rounds from a shotgun with an extended
   magazine. He did not hit anyone. One deputy fired several rounds from an AR-15 in
   .223 caliber with a 20 round magazine. The other deputy fired 16 rounds from his
   .40 caliber handgun with a 15 round magazine. One police officer also fired several
   rounds. The suspect in the passenger seat was believed to have been killed by a
   bullet from the AR-15. The suspect driver was hit by the Wiggins police officer.

   June 17, 2011 – The deputy fired 2 rounds from his .45 caliber handgun with an 8
   round magazine. The suspect was hit once in the torso and once in the arm but
   survived.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response:

   July 3, 2005 – One suspect was killed by a deputy and one suspect was wounded by
   the police officer.

   June 17, 2011 – One suspect was wounded by the deputy.

   3. With respect to the allegations of paragraph 102 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 1973 in which you or your
   predecessors in office requested the armed assistance of able-bodied adults (“posse
   comitatus”). In your response, state in detail the circumstances surrounding each
   such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, whether such individuals were law enforcement officers or were deputized
   for the purposes of participating, and whether these individuals were required by
   you or your predecessors to carry firearms in connection with their participation;

   Response:

   I have been a member of the Morgan County Sheriff’s Office since 1977, with 33
   years as a deputy sheriff, investigator or sheriff. The other years I was a member of
   the sheriff’s office dive team and always maintained close relationships with
   deputies at the agency. I was also a cadet for the Morgan County Sheriff’s Office for
   2 years in high school before being hired.

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   I was involved in a specific incident in March of 1985 where I was in pursuit of a
   stolen vehicle from Texas. The vehicle left the roadway and went cross-county into
   Adams County, and we were unable to pursue due to having no four-wheel drive
   vehicles. A local rancher offered himself and his pickup so he and I could follow the
   vehicle’s tracks through the snow (in the middle of a blizzard at night). Locating
   the pickup, the rancher pursued it back into Morgan County.

   We went across country for several minutes and went back into Adams County.
   After the stolen pickup rammed us and I fired a shot into the front of the pickup, it
   stopped shortly thereafter. I gave the rancher my shotgun and had him cover me
   while I arrested both occupants of the pickup. The rancher fired no shots but stood
   armed, in view of the suspects, as my backup. I made the arrests alone in a remote
   area in which road signs were covered with snow and my radio could not reach out
   to the other cars looking for us.

   Since 1975, I cannot say I know of any other specific incidents where the sheriff or
   any deputies specifically requested assistance from an “able-bodied adult,” either
   already armed or given a firearm by a deputy, for the specific purpose of enforcing
   the law, preservation of the peace, or protecting the sheriff or deputy. However, I
   am sure I am not the only deputy who has had citizens, usually local farmers or
   ranchers, back us up when involved with a combative suspect, a felony stop or a
   crime in progress. In these instances, the citizens had told us they had ready access
   to a firearm (inside the house, vehicle, or on their person), if so needed.

   When searching a private residence or a business where a burglar alarm has gone
   off, I have had instances where an armed home/business/property owner has
   accompanied me, while armed with a handgun, when I had no backup close at hand.


   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: None to my knowledge.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: None to my knowledge.

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   4. With respect to the allegations of paragraph 103 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 when you or your
   predecessors appointed deputies who were not certified peace officers. In your
   response, state in detail:

   a. the date and duration of each individual’s appointment, the circumstances
   surrounding the need for the “non-certified” deputy, whether the non-certified
   deputy was required to carry a firearm, whether the “non-certified” deputy carried a
   firearm he/she supplied or a firearm supplied by the sheriff’s office, and whether
   any non-certified deputy ever discharged a firearm;

   Response: The Morgan County Sheriff's Office does not have, nor utilize, any non-
   POST certified deputy sheriffs except those who are assigned to the Jail Operations
   Division.

   The Morgan County Sheriff's Office has utilized armed non-POST certified deputy
   sheriffs for many years in our Jail Operations Division. These deputies receive the
   same training in firearms and use of force as our Field Operations deputies and
   POST-certified deputy sheriffs in the jail. The Morgan County Sheriff's Office
   utilizes a six week, in house “Jail Academy” which consists of three weeks in the
   classroom and three weeks of skills training. The skills training involves firearms,
   driving and arrest control.

   Our non-certified deputies wear the same uniform, carry all the same equipment
   and perform all the same tasks as the certified deputies in the jail. This includes
   court security and mental health and prisoner transports. We also utilize one (soon
   to be two) non-certified jail deputies as patrol support deputies. These deputies
   drive a marked agency vehicle and their duties include service of certain civil
   processes, animal calls, VIN inspections and other service type calls.

   Our non-certified deputies have the choice of being issued an agency Glock .40
   caliber firearm with a 15 round magazine, or a personally owned firearm that is
   approved by the policy and command staff.

   Our non-certified deputies are not allowed to carry concealed while off-duty as a
   deputy, but they may apply for a concealed carry permit.

   The Morgan County Sheriff's Office also has a posse program for civilians who have
   no POST certification. Currently those posse members do not carry a firearm as
   part of their uniform but we are in the process of rewriting our policies and
   procedures to allow the carrying and use of a firearm by posse members. They
   would be required to complete the same type of training listed above.

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   b. the circumstances surrounding the discharge of the non-certified deputy’s
   firearm, including: the date and location of the event, whether the non-certified
   deputy was fired upon, the number of rounds fired by the non-certified deputy, the
   number of rounds fired by others involved in the event, the capacities of magazines
   from which bullets were fired, and whether any individual was shot;

   Response: None.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: None.



   5. Describe every occasion since January 1, 2004 when you, your predecessor
   sheriff(s), a sheriff’s deputy, or a family member living with these individuals has
   discharged or otherwise used or displayed a firearm in defense of self, home, or
   other family members. In your response, describe the circumstances surrounding
   each event, including: the events leading to the use, display, or discharge of the
   firearm, the number of rounds fired by you or others, and the capacity of magazines
   used by firearms that were discharged. If any person was shot, identify the
   individuals who inflicted and suffered any gunshot injuries and state whether any
   individual was killed.

   Response: Sheriff Crone objects to this interrogatory on the ground that the
   phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
   without waiving this objection:

   I am not aware of any specific instance where a deputy sheriff or member of their
   family has used, displayed or discharged a firearm in defense of self, home or
   family. I will tell you that being a law enforcement officer in this county for thirty-
   plus years, and having lived nearly all of my career in the county, I have had
   numerous people show up at my house at all hours of the night or day to talk to me
   about an issue, make a complaint, or report an emergency, knowing that I was a
   deputy sheriff, or the county sheriff.

   I have walked out the door on many occasions to meet people or vehicles in my yard
   or drive, gun in hand, though many never knew I had it. I am not a paranoid man,
   but I am prepared, and our aggressive drug and other criminal enforcement have
   certainly raised the ire of many of our criminal element.

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   6. With respect to the allegations of paragraph 105 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 in which you or your
   predecessors in office requested armed citizen assistance for emergencies and
   natural disasters. In your response, state in detail the circumstances surrounding
   each such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, and whether such individuals were law enforcement officers or were
   deputized for the purposes of participating, and whether these individuals were
   required by you or your predecessors to carry firearms;

   Response:

   Having been County Sheriff since 1999, I have not, nor am I aware of any specific
   instance where one of our deputy sheriffs, has ever requested armed citizen
   assistance for any emergency or natural disaster, in the specified time period,
   except as described above.


   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: Not applicable.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.




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  AS TO OBJECTIONS:
                                         s/David B. Kopel
                                         INDEPENDENCE INSTITUTE
                                         727 E. 16th Avenue
                                         Denver, CO 80203
                                         Phone: (303) 279-6536
                                         Fax: (303) 279-4176
                                         david@i2i.org

                                         ATTORNEY FOR SHERIFFS AND DAVID
                                         STRUMILLO

  AS TO RESPONSES:
         Pursuant to 28 U.S.C. § 1746, I, Jim Crone, do hereby verify under penalty of
  perjury that the foregoing responses to Defendant’s Interrogatories are true and
  correct to the best of my information and belief.

        Dated this 14th day of August, 2013.

                                         ______              _____________
                                         s/Sheriff Jim Crone




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